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15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17
     IN RE SEAGATE TECHNOLOGY LLC                       No. 3:16-cv-00523-JCS
18   LITIGATION
19                                                      PLAINTIFFS’ NOTICE OF ERRATA

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 1            TO THE CLERK OF THE COURT AND ALL ATTORNEYS OF RECORD:

 2            PLEASE TAKE NOTICE THAT Plaintiffs respectfully submit this notice of errata to the

 3   Declaration of Stefan Boedeker in Support of Plaintiffs’ Motion for Class Certification (ECF

 4   No. 133-4) and the Declaration of Andrew Hospodor in Support of Plaintiffs’ Motion for Class

 5   Certification (ECF No. 133-5).

 6            The Corrected Declaration of Stefan Boedeker in Support of Plaintiffs’ Motion for Class

 7   Certification, attached as Exhibit A hereto, now includes Exhibit A to the declaration and tables to

 8   the appendix.

 9            The Declaration of Andrew Hospodor in Support of Plaintiffs’ Motion for Class Certification,

10   attached as Exhibit B hereto, now includes Exhibit A to Appendix 1 of the declaration.

11   DATED: November 20, 2017                     HAGENS BERMAN SOBOL SHAPIRO LLP

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                                                  By:       /s/ Steve Berman
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     PLAINTIFFS’ NOTICE OF ERRATA - 1
     Case No.: 3:16-cv-00523-JCS
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